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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 CLEVELAND MUSEUM OF ART,                        )   CASE NO. 1:23-cv-02048
                                                 )
                                Plaintiff,       )   JUDGE CHARLES E. FLEMING
                                                 )
 vs.                                             )
                                                 )
 DISTRICT ATTORNEY OF NEW YORK                   )
 COUNTY, NEW YORK,                               )
                                                 )
                                Defendant.       )   ORDER STAYING CASE



       On December 2, 2024 at 2:30 PM, the Court held a video status conference at the request

of the parties. (ECF No. 11). Attorneys Dennis Rose and Daniel Alonso appeared on behalf of the

plaintiff. Attorneys Subodh Chandra, Leslie Dubeck, and Corey Shoock appeared on behalf of the

defendant. The parties informed the Court that, while the statue subject to this action has

undergone two different kinds of forensic testing, a third manner of testing is required and more

time is needed to do it. The Court noted that this matter has been pending for over a year, and the

defendant has yet to file a responsive pleading to the Complaint.

       This Court possesses inherent power to stay proceedings “to control the disposition of the

causes on its own docket with economy of time and effort for itself, for counsel, and for litigants.”

Glazer v. Whirlpool Corp., No. 1:08-cv-1624, 2008 WL 4534133 (N.D. Ohio Oct. 6, 2008)

(quoting Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)). Due to the need for additional testing

and analysis, by agreement of the parties, and by the inherent power possessed by this Court, this

matter is hereby STAYED pending further order of the Court.

       The parties shall file a Joint Status Report on or before March 31, 2025, informing the

Court of the status of testing/analysis, whether the parties are prepared to litigate this matter, or

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whether the stay should continue, and if so, for how long. If the testing has not been completed

by that date, the report shall also indicate why it could not be completed in the allotted time. The

parties are hereby on notice that because of the length of time this matter has been pending without

any response to the Complaint, the Court may lift the stay at that time and require a responsive

pleading to be filed. This may occur regardless of any request by the parties to continue the stay.

       IT IS SO ORDERED.

       Date: December 3, 2024

                                              __________________________________________
                                              CHARLES E. FLEMING
                                              U.S. DISTRICT COURT JUDGE




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